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EXHIBIT A
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DECLARATION OF NANCY ROTERING

I, Nancy Rotering, under penalty of perjury as set forth in 28 U.S.C. § 1746 declare as

follows:

1, I serve as the Mayor of the City of Highland Park, Illinois (“City”). I have served
the City as Mayor since May 2011. Prior to being elected as Mayor, I served as a member of the

City Council from May 2009 until May 2011.

2. I have personal knowledge of the matters set forth in this Affidavit and can testify

competently to such matters.

3 1 was born in the City of Cincinnati, Ohio in 1961 and have lived in Highland

Park for all but 18-years of my life.

4, As the legislative body for the City, the City Council is responsible for making
policy and enacting laws that protect and preserve the public health, safety, and welfare of City
residents, businesses, and visitors. Specifically, the City Council has the duty to prevent, to the

greatest extent practicable, the commission of violent crimes within the City.

5, On June 24, 2013, the City Council adopted City Ordinance No. 68-13,
prohibiting the manufacture, sale and possession of assault weapons and large capacity
magazines within the City (“Ordinance”). A true and correct copy of the Ordinance, which

bears my signature, is attached to this Affidavit as Exhibit A.

6. The City modeled its Ordinance after Cook County’s assault weapon ban; with

only minor non-substantive exceptions, the City’s Ordinance is identical to the County’s.
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ra The City deliberately chose Cook County’s ordinance as a model because it has

recently survived equal protection and vagueness challenges before the Illinois Supreme Court.

8. As set forth in the Ordinance, the City Council believes that assault weapons pose

an undue threat to public safety for the residents, property owners and visitors to the City.

9. The City Council also expressed its concern that the recent mass shooting
tragedies in Aurora, Colorado, Newtown, Connecticut, Tucson, Arizona and Santa Monica,
California, could occur in Highland Park, unless proper public safety measures are taken. As
Mayor, and as a mother of four, I am particularly concerned about preventing a school shooting
similar to the massacre at Sandy Hook Elementary School in Newtown. That is what was on my
mind throughout our consideration of the Ordinance: how unlikely an assault weapon massacre
was in Newtown and how similar our communities are. I could not shake the thought that we
could just as easily be those panicked and grief-stricken parents. In a similar vein, I wrote a
letter to the Mayor of Aurora, Colorado, in the wake of their gun-related tragedy, empathizing
with the agony his community was experiencing. Lastly, the tragedy that occurred when Laurie
Dann attempted to ignite an incendiary device at one of our Highland Park elementary schools,
then went on a shooting rampage at another school in nearby Winnetka was also on my mind,
My concern for how vulnerable our schools and schoolchildren are played into our need to pass

the Ordinance.
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10. The City Council believes that the City is not immune to gun violence,

particularly gun violence involving assault weapons, and that the weapons pose a dangerous

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Nancy Rotering /
Mayor
City of Highland Park

threat in the City and other suburban areas.

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ORDINANCE NO, 68-13

AN ORDINANCE AMENDING CHAPTER 134 OF “THE HIGHLAND PARK
CODE OF 1968.” AS AMENDED, REGARDING ASSAULT WEAPONS

WHEREAS, Chapter 184 of “The Highland Park Code of 1968,” as amended (“City Code”), regulates the
manufacture, sale, and possession of firearms in the City; and

WHEREAS, the Constitution of the United States of America and the Constitution of the State of Illinois
afford certain protections related to the ownership of firearms; and

WHEREAS, in District of Columbia v. Heller, the United States Supreme Court recognized that the
Constitutional protections related to firearm ownership is not unlimited, and can be subject to certain types of
governmental regulations; and

WHEREAS, in its Heller decision, the United States Supreme Court specifically acknowledged that the
protections afforded by the Second Amendment to the Constitution of the United States does not extend to all types
of firearms; and

WHEREAS, many courts throughout the nation have upheld local regulations restricting or prohibiting the
ownership or possession of assault weapons, including, without limitation, the State of Illinois Appellate Court, the
United States District Court for the District of Columbia, and the Court of Appeals for the State of California; and

WHEREAS, recent incidents in Aurora, Colorado; Newtown, Connecticut; Tucson, Arizona; and Santa
‘Monica, California demonstrate that gun violence is not limited to urban settings, but is also, tragically, a maa in
many suburban and small town yogsenne ag well; and

WHEREAS, the City Council has determined that assault weapons are not traditionally used for self-
defense in the City of Highland Park, and that such weapons pose an undue threat to public safety to residents,
property owners, and visitors within the City of Highland Park; and

WHEREAS, the City has previously encouraged the Governor and the Ilinois General Assembly to enact
statewide legislation banning the sale and possession of assault weapons; and

WHEREAS, to date, the State has failed to enact a statewide ban on the sale or possession of assault
weapons; and

WHEREAS, on May 31, 2013, the [inois General Assembly approved House Bill 183, as amended, which .
Bill contains a provision that would preempt the home rule authority of the City to regulate the possession or

ownership of assault weapons, unless the City adopts such a regulation not later than 10 days after House Bill 183
becomes law; and

WHEREAS, pursuant to the home rule powers of the City, and in order to protect both the home rule
authority of the City and the public safety and welfare, the City Council desires to amend Chapter 184 of the City
Code to prohibit the manufacture, sale, ownership, acquisition, or possession of assault weapons within the City;
and

WHEREAS, the City Council has determined that it will serve and be in the best interest of the City and its
residents to amend the City Code pursuant to this Ordinance;

NOW, THEREFORE, BE IT ORDAINED BY THE CITY COUNCIL OF HIGHLAND PARK, LAKE
COUNTY, STATE OF ILLINOIS, as follows:

SECTION ONE: RECITALS. The foregoing recitals are incorporated into, and made a part of, this
Ordinance as the findings of the City Council.

SECTION TWO: FIREARMS CONTROL. Chapter 134, entitled "Handgun Control," of iil XII,
entitled "Misdemeanors," of the City Code is hereby re-titled "Firearms Control".

Exhibit 1
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SECTION THREE: ASSAULT WEAPONS AND LARGE CAPACITY MAGAZINES, Chapter 134,
entitled "Firearms Control," of Title XIII, entitled "Misdemeanors," of the City Code is hereby amended to add a new
Section 134.010, which Section 134.010 hereafter reads as follows:

"Sec, 184.010 Assault Weapons and Large Capacity Magazines.
(A) Whenever the following words and phrases are used, they shall, for purposes of this

Section 184,010, have the meanings ascribed to them in this Section 134.010(A), except when the
context otherwise indicates.

(1) “Assault Weapon” means

(a) A semiautomatic rifle that has the capacity to accept a large mate
magazine detachable or otherwise and one or more of the following:

(i) Only a pistol grip without a stock attached;

(ii) Any feature capable of functioning as a protruding grip that
can be held by the non-trigger hand;

Gili) A folding, telescoping or thumbhole stock;

(iv) A shroud attached to the barrel, or that partially or
completely encircles the barrel, allowing the bearer to hold
the firearm with the non-trigger hand without being burned,
but excluding a slide that encloses the barrel; or

(v) A muzzle brake or muzzle compensator;

(b) A semiautomatic pistol or any semi-automatic rifle that has a fixed
magazine, that has the capacity to accept more than ten rounds of ammunition;

(c) A semiautomatic pistol that has the capacity to accept a detachable
magazine and has one or more of the following:

(i) Any feature capable of functioning as a protruding grip that
can be held by the non-trigger hand;

Gi) A folding, telescoping or thumbhole stock;

(iii) A shroud attached to the barrel, or that partially or
completely encircles the barrel, allowing the bearer to hold
the firearm with the non-trigger hand without being burned,
but excluding a slide that encloses the barrel;

(iv) A muzzle brake or muzzle compensator; or

(vy) The capacity to accept a detachable magazine at some
location outside of the pistol grip;

(d) A semiautomatic shotgun that has one or more of the following:
(i) Only a pistol grip without a stock ‘attached;

(ii) Any feature capable of functioning as a protruding grip that
can be held by the non-trigger hand;

(iii) A folding, telescoping or thumbhole stock;

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(iv) A fixed magazine capacity in excess of five rounds; or
(y) An ability to accept a detachable magazine;
(e) Any shotgun with a revolving cylinder;

(f) Conversion kit, part or combination of parts, from which an assault
weapon can be assembled if those parts are in the possession or under the control of the same
person;

(g) Shall include, but not be limited to, the assault weapons models
identified as follows:

oO) The following rifles or copies or duplicates thereof:

(A) AK, AKM, AKS, AK-47, AK-74, ARM, MAK90, Misr,
NHM 90, NHM 91, SA 85, SA 93, VEPR;

(B)  AR-10;

(C)  AR-15, Bushmaster XM15, Armalite M15, or Olympic
Arms PCR;

(D) ARTO;

(E) Calico Liberty;

(F)  Dragunov SVD Sniper Rifle or Dragunov SVU;
(G) Fabrique National FN/FAL, FN/LAR, or FNC;
(H)  Hi-Point Carbine; .

@ HK-91, HK-93, HK-94, or HK-PSG-1; -

(J) Kel-Tec Sub Rifle;

(K) Saige;

(L) SAR-8, SAR-4800;

(M) SKS with detachable magazine;

(N)  SLG 95;

(0) SLR 95 or 96;

() Steyr AUG;

(Q) Sturm, Ruger Mini-14;

(R)  Tavor;

(S) Thompson 1927, Thompson M1, or Thompson 1927
Commando; or

(T) Uzi, Galil and Uzi Sporter, Galil Sporter, or Galil
Sniper Rifle (Galatz).
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(i) The following pistols or copies or duplicates thereof:
(A) Calico M-110;
(B) MAC-10, MAC-11, or MPAS;
(C) Olympic Arms OA;
(D) TEC-9, TEC-DC9, THC-22 Scorpion, or AB-10; or
(BE) Uzi.

(iii) ~The following shotguns or copies or duplicates thereof:
(A)  Armscor 80 BG;
(B) SPAS 12 or LAW 12; .
(C) Striker 12; or
(D)  Streetsweeper.

“Assault weapon” does not include any firearm that has been made permanently

inoperable, or satisfies the definition of "antique firearm," stated in Section 134.001 of this Chapter,
or weapons designed for Olympic target shooting events.

(2) “Detachable Magazine” means any ammunition feeding device, the function
of which ‘is to deliver one or more ammunition cartridges into the firing chamber, which can be
removed from the firearm without the use of any tool, including a bullet or ammunition cartridge.

(8) “Large Capacity Magazine” means any ammunition feeding device with the
capacity to accept more than ten rounds, but shall not be construed to include the following:

(a) A feeding device that has been permanently altered so that it cannot
accommodate more than ten rounds.

(b) A 22 caliber tube ammunition feeding device.
(c) A tubular magazine that, is contained in a lever-action firearm.

(4) “Muzzle Brake” means a device attached to the muzzle of a weapon that
utilizes escaping gas to reduce recoil,

(6) "Muzzle Compensator” means a device attached to the muzzle of a weapon
that utilizes escaping gas to control muzzle movement.

(B) No person shall manufacture, sell, offer or display for sale, give, lend, transfer
ownership of, acquire or possess any assault weapon or large capacity magazine, This Section
184,010(B) shall not apply to:

QQ) The sale or transfer to, or possession by any officer, agent, or employee of the
City or any other municipality or state or of the United States, members of the armed forces of the
United States, or the organized militia of this or any other state; or peace officers, to the extent that
any such person named in this Section 184.010(B)(1) is otherwise authorized to acquire or possess
an assault weapon and/or large capacity magazine and does so while acting within the scope of his
or her duties; or
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(2) Transportation of assault weapons or large capacity magazine if such
weapons are broken down and in a nonfunctioning state and are not immediately accessible to any
person,

(C) Any assault weapon or large capacity magazine possessed, sold or transferred in
violation of Section 134.010(B) of this Chapter is hereby declared to be contraband and shall be
seized and destroyed of in accordance with the provisions of Section 134,010) of this Chapter.

(D) Any person who, prior to the effective date of this Section 184.010, was legally in
possession of an assault weapon or large capacity magazine prohibited by this Section 134.010 shall
have 90 days from the effective date of this Section 134.010 to do any of the following without being
subject to prosecution hereunder:

(1) To remove the assault weapon or large capacity magazine from within the
limits of the City; ‘

(2) To modify the assault weapon or large capacity magazine either to render it
permanently inoperable or to permanently make it a device no longer aenhed as an assault weapon
or large capacity magazine; or

(8) To surrender the assault weapon or large capacity magazine to the Chief of
Police or his or her designee for disposal as provided in Section 184.010(&) of this Chapter.

(E) The Chief of Police shall cause to be destroyed each assault weapon or large capacity
magazine surrendered or confiscated pursuant to this Section 134.010; provided, however, that no
firearm or large capacity magazine shall be destroyed until such time as the Chief of Police
determines that the firearm or large capacity magazine is not needed as evidence in any matter. The
Chief of Police shall cause to be kept a record of the date and method of destruction of each Firearm
or Large Capacity Magazine destroyed pursuant to this Chapter.

(F) The violation of any provision of this Section 134.010 is a misdemeanor, pudahiable
by not more than six months imprisonment or a fine of not less than $500 and not more than $1000,
or both."

SECTION FOUR: PUBLICATION. The City Clerk shall be, and is hereby, directed to publish this
Ordinance in pamphlet form pursuant to the Statutes of the State of Illinois.

SECTION FIVE: EFFECTIVE DATE, This Ordinance shall be in full force and effect from and after its
passage, approval, and publication in the manner provided by law.

AYES: Mayor Rotering, Councilman Stone, Kaufman, Frank, Blumberg, Knobel »
NAYS: Councilman Naftzger

ABSENT; None

PASSED: June 24, 2018

APPROVED: ~ June 24, 2018

PUBLISHED IN PAMPHLET FORM: June 26, 2018

ORDINANCE NO.; 68-18 | dae, ic (fF
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Nancy R. Rotering, Mayor
ATTEST:

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CWida §. Neukirch, City Clerk

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